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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
                  v.                           :         Case No. 23-cr-229 (CJN)
                                               :
TAYLOR FRANKLIN TARANTO,                       :
                                               :
                         Defendant.            :


                               JOINT MOTION FOR EXTENSION

        The United States of America jointly with counsel for the defendant hereby respectfully

moves the Court for an extension of time on all pending motion response and motion hearing dates

in this matter.    On September 5, 2023, the Court issued a scheduling order requiring the defendant

to file his motion to suppress by September 19, 2023, with the government responding by October

3, 2023.    On September 19, 2023, the defendant requested a one-week extension to file his

motion.    (ECF No. 28).     The government did not object and the Court extended the deadline to

September 27, 2023.       (Min. Entry Sept. 25, 2023).

        The government now respectfully requests a reciprocal extension to file its response until

October 11, 2023.      The government has spoken to defense counsel who does not object to the

request.   The parties further request that the remaining dates calendared in relation to the motion

also be extended by a period of one week.       Specifically, the parties request that the defendant’s

reply to the government’s response be moved to October 17, 2023, and the motions hearing be

moved to October 24, 2023.
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                           Respectfully submitted,

                           MATTHEW M. GRAVES
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